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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 CARMEN CONSOLINO, et al.                      )
                                               ) Case No. 17-cv-09011
         Plaintiffs,                           )
                                               ) Hon. Robert M. Dow, Jr.
 v.                                            )
                                               ) Magistrate Hon. Sidney I. Schenkier
 THOMAS J. DART, et al.                        )
                                               )
         Defendants.                           )

                                    NOTICE OF MOTION

        To:     Counsel of Record

        Please take notice that on Wednesday, November 27, 2019, at 9:15 a.m., counsel for the
Sheriff’s Office Defendants shall appear before Judge Robert M. Dow, Jr. in the courtroom
usually occupied by him at 219 South Dearborn St., Chicago, Illinois, and then and there present
the Sheriff’s Office Defendant’s UNOPPOSED MOTION FOR EXTENSION OF TIME TO
FILE MOTION CONCERNING BIFURCATION.

                                                    Respectfully Submitted,

                                            By:     /s/ Justin L. Leinenweber
                                                    JUSTIN L. LEINENWEBER
                                                    Leinenweber Baroni & Daffada, LLC
                                                    120 N LaSalle St, Ste 2000
                                                    Chicago, IL 60602
                                                    (312) 380-6635
                                                    justin@ilesq.com
    Case: 1:17-cv-09011 Document #: 82 Filed: 11/19/19 Page 2 of 2 PageID #:637




                               CERTIFICATE OF SERVICE

        The undersigned, an attorney, certify that on November 19, 2019, I served the foregoing
on all counsel of record via ECF.

                                                    /s/ Justin Leinenweber
                                                    One of the Sheriff’s Office Attorneys
